Case 1:10-Cr-10068-WGY Document 5 Filed 02/10/10 Page 1 of 1

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Defendanr / )

APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

l am admitted or otherwise authorized to practice in this court, and l appear in this case as counsel for:

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